                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:
                                                                Case No. 13-44268
CHRISTIE MICHELE WANDRIE,
                                                                Chapter 7
                        Debtor.
                                           /                    Judge Thomas J. Tucker

               OPINION AND ORDER REGARDING SHOW-CAUSE ORDER
                     DIRECTED TO ATTORNEY TODD M. GERS

         This case is before the Court on the Court’s show-cause order directed to attorney Todd

M. Gers (Docket # 36, the “Show-Cause Order”), entitled “Order Requiring Attorney Todd M.

Gers to Appear and Show Cause, and to Respond in Writing, Why He Should Not Be Sanctioned

for His Filing of Debtor’s Schedules and Statement of Financial Affairs in this Case, Which

Contained Numerous False Statements, and His Failure to Take Any Action to Amend and

Correct the False Statements in the Schedules and Statement of Financial Affairs.”

         The Show-Cause Order, and the proceedings the Court held relating to the Show-Cause

Order, are described and discussed in a written opinion that the Court has filed today in the

Chapter 7 Trustee’s pending adversary proceeding (the “Adversary Proceeding”) against the

Debtor (Trial Opinion (Docket # 67, Adv. No. 13-4636, the “Trial Opinion”)). The Show-Cause

Order is very detailed, and arose after the Court had found that there were a great many false

statements contained in the Schedules and Statement of Financial Affairs that attorney Gers had

filed in this case for the Debtor.1 The Show-Cause Order required attorney Gers to:

                show cause why he has not violated Fed. R. Bankr. P. 9011(b), and
                show cause why he should not be sanctioned for his filing of

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           The false statements were described in a supplement to the Show-Cause Order, filed by the
Court at the same time as the Show-Cause Order. This supplement appears at Docket # 37.



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               Debtor’s Schedules and Statement of Financial Affairs, and for his
               failure to take any action to amend and correct the many false
               statements in the Schedules and Statement of Financial Affairs.

(Show-Cause Order at 7).

       The Court has carefully reviewed the entire response and all of the evidence presented by

Gers in response to the Show-Cause Order, and all of the testimony of Gers at the evidentiary

hearing held on the Show-Cause Order; and all of the evidence and arguments presented in the

trial of the Adversary Proceeding. (The Gers response and the evidence considered are listed in

the Trial Opinion, at 2, 4-6). The following findings and conclusions are based on Gers’s

response and the evidence, and are consistent with the detailed findings of fact and conclusions

of law contained in the Court’s Trial Opinion filed in the Adversary Proceeding.

       The Court is satisfied, and now finds and concludes, that attorney Gers did not violate

Fed. R. Bankr. P. 9011(b), or otherwise engage in any sanctionable conduct, acts, or omissions,

in either filing, or in not taking more action than he did to try to amend, the Debtor’s false

Schedules and Statement of Financial Affairs in this bankruptcy case. The Court believes and

accepts attorney Gers’s allegations and explanations, and finds that there is no valid basis for

sanctioning Gers for any actions or omissions in this case, under Rule 9011 or otherwise.

       Accordingly,

       IT IS ORDERED that the Show-Cause Order (Docket # 36) is dissolved.


Signed on February 10, 2017                           /s/ Thomas J. Tucker
                                                      Thomas J. Tucker
                                                      United States Bankruptcy Judge




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